Case 3:20-cv-12827-MAS-DEA Document 14-2 Filed 12/04/20 Page 1 of 6 PagelID: 429

EXHIBIT 1

 
Case 3:20-cv-12827-MAS-DEA Document 14-2 Filed 12/04/20 Page 2 of 6 PagelD: 430

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As of: December 4, 2020 5:03 PM Z

Campbell v. Tabas
United States District Court for the Eastern District of Pennsylvania
July 25, 2017, Decided; July 25, 2017, Filed
CIVIL ACTION NO. 16-6513

Reporter
2017 U.S. Dist. LEXIS 115722 *; 2017 WL 3142118

LEROY A. CAMPBELL v. LAUREN R. TABAS, et al.

Core Terms

 

state court, mortgage, motion to dismiss, district court,
allegations, conspiracy, foreclosure judgment,
foreclosure action, fraud exception, assigned, default

Counsel: [*1] For LEROY A. CAMPBELL, Plaintiff:
JOSHUA THOMAS, JOSHUA L. THOMAS &
ASSOCIATES, POCOPSON, PA.

For LAUREN R. TABAS, ESQ, Defendant:
CHRISOVALANTE P. FLIAKOS, LEAD ATTORNEY,
PHELAN HALLINAN DIAMOND & JONES, LLP,
PHILADELPHIA, PA.

For POWERS, KIRN, & JAVARDIAN, LLC, Defendant:
HARRY B. REESE, LEAD ATTORNEY, POWERS KIRN
& ASSOCIATES, LLC, EIGHT NESHAMINY
INTERPLEX, TREVOSE, PA.

For U.S. BANK NATIONAL ASSOCIATION, PAULA
LYNN LASLIE, CARRIE BRATCHER, Defendants:
ALEXIS GABRIELLE COCCO, ROBERT E. WARRING,
REED SMITH LLP, PHILADELPHIA, PA.

Judges: LAWRENCE F. STENGEL, Judge.

Opinion by: LAWRENCE F. STENGEL

Opinion

 

MEMORANDUM
STENGEL, J.

In our complex financial world, notes and mortgages
can be assigned by one bank to another without the
knowledge of the mortgagor so that, if the mortgagor
defaults, he may find himself subject to suit by a party
he has never heard of. That is what happened to pro se
plaintiff Leroy Campbell, against whom a state court
entered a foreclosure judgment. He now sues the bank
that brought the action against him—U.S. Bank—along
with its vice president, various lawyers, and a notary
public, alleging they conspired to fabricate documents to
make it appear that U.S Bank had been assigned the
mortgage and [*2] note. However, he provides no
grounds for his allegations and, even if he had, this
court lacks jurisdiction over his claims. Therefore, as
explained below, defendants’ motions to dismiss are
granted.

BACKGROUND

On November 21, 2006, Mr. Campbell, along with
Marcia R. Campbell, executed a note and mortgage
reflecting a debt of $249,994.00 secured by real
property located at 5008 Foxdale Drive, Whitehall,
Pennsylvania 18052. Compl. J 22, 24, Exs. A (Note),
Ex. C (Mortgage). The recorded mortgage identified the
lender as Lend America and its nominee, successors
and assigns as Mortgage Electronic Registration
Systems, Inc. (MERS). Id.

By August 2013, the Campbells had defaulted on their
Case 3:20-cv-12827-MAS-DEA Document 14-2 Filed 12/04/20 Page 3 of 6 PagelD: 431

Page 2 of 5

2017 U.S. Dist. LEXIS 115722, *2

mortgage payments and U.S. Bank filed a foreclosure
action against them in state court. Id. Ex. A. U.S. Bank
claimed to have been assigned the mortgage by MERS.
Id. J 25. This action is based on that assignment, which
Mr. Campbell argues was fraudulent.

Mr. Campbell alleges a vast conspiracy to fabricate
documents purporting to show an assignment so that
U.S. Bank could appear to have standing to bring the
state court action. He avers U.S. Bank's counsel,
defendant law firm Powers, Kirn & Javardian, LLC, [*3]
created false documents describing the assignment, id.
q 27; defendant Paula Lynn Laslie, “purporting to be"
assistant secretary of MERS, signed and executed the
false assignment, id. | 28; and defendant Carrie
Bratcher, a notary public, improperly notarized the
defective assignment. Id. {| 30. U.S. Bank then allegedly
paid Mr. Campbell's attorney not to appear in court in
order to obtain a default judgment. Id. {| 32.

The court entered a foreclosure judgment in favor of
U.S. Bank on May 15, 2015. Id. Ex. G. Mr. Campbell
filed a motion to vacate the judgment. Id. J] 33, 34.
When this was denied, he appealed. Id. {J 35, 36. His
appeal was also denied. Id. 37. A sheriffs sale of his
home was scheduled for January 27, 2017. He then
filed his complaint in federal court commencing this
action and requested a temporary restraining order
against the sale, which was denied. Docket No. 8.

The basis for Mr. Campbell's belief in the alleged
conspiracy appears to be his discovery that Lend
America, Inc., from which he obtained the mortgage,
was dissolved on January 26, 2011. Id. J] 26, 30, 39,
Ex. D. Mr. Campbell argues that the fact that Lend
America had been dissolved before its
nominee/assignee, [*4] MERS, assigned the note and
mortgage to U.S. Bank suggests that the assignment
was invalid and procured through fraud. Id. Jf 30, 39.

Mr. Campbell requests compensation for his state
litigation expenses and "cloud upon title which made
[his] home unmarketable." Id. | 40. He brings the
following claims: (1) violation of the Fair Debt Collection
Practices Act (15 U.S.C. § 1692, et seq.), (2) violation of
the Racketeer Influence Corrupt Organizations Act (18
U.S.C. § 1961, et seq.), (3) violation of the Pennsylvania
Unlawful Collection Agency Practices (78 Pa. Cons.

Stat. § 7311, et seg.) and (4) civil conspiracy.

STANDARD OF REVIEW

In order to state a claim, a pleading must contain "a

short and plain statement of": 1) "the grounds of the
courts’ jurisdiction" and 2) "the claim showing that the
pleader is entitled to relief... ."1 Fed. R. Civ. P. 8/a).
Before addressing a motion to dismiss, a court must first
establish that it has jurisdiction over the action. Sice/
Co. v. Citizens for a Better Env't, 523 U.S. 83, 94, 118
S. Ct. 1003, 140 L. Ed. 2d 210 (1998). "Without
jurisdiction the court cannot proceed at all in any cause."
Id.

lf a court has jurisdiction, it can proceed to address
whether the plaintiff has stated a claim showing
entitlement to relief. Federal Rule of Civil Procedure
12(b)(6) permits a court to dismiss all or part of an
action for "failure to state a claim upon which relief can
be granted.” Typically, a complaint [*5] "does not need
detailed factual allegations," but must include "enough
to raise a right to relief above the speculative level. . .
on the assumption that all of the allegations in the
complaint are true.” Bell At/. Corp. v. Twombly, 550 U.S.
544, 555, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)
(citations omitted). This "calls for enough fact[s] to raise
a reasonable expectation that discovery will reveal
evidence of" the necessary element. /d. af 556. In
reviewing a complaint, "[t]he District Court must accept
all of the complaint's well-pleaded facts as true, but may
disregard any legal conclusions." Fowler _v. UPMC
Shadyside, 578 F.3d 203, 210-11 (3d_Cir. 2009)
(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct.
1937, 173 _L. Ed. 2d 868 (2009)). It "must then
determine whether the facts alleged in the complaint are
sufficient to show that the plaintiff has a 'plausible claim
for relief." Id. (quoting /qba/, 556 U.S. at 679).

Because Mr. Campbell is proceeding pro se, the court
"must liberally construe his pleadings, and . . . apply the
applicable law, irrespective of whether [he] has
mentioned it by name." Diuhos v. Strasberg, 327 F.3d
365, 369 (3d Cir. 2003). "[H]owever inartfully pleaded,"
a pro se complaint must be held to "less stringent
standards than formal pleadings drafted by lawyers."
Haines v. Kerner, 404 U.S. 519, 520-27, 92 S. Ct. 594,
30 L. Ed. 2d 652 (1972), Unless amendment would be
inequitable or futile the Court should not dismiss the
complaint without allowing plaintiff leave to amend. Id, at
235 (3d Cir. 2004) (citing Grayson _v. Mayview_State
Hosp., 293 F.3d 103, 108 (3d Cir. 2002)).

 

 

 

1The pleading must also contain a demand for the relief
sought, a requirement not at issue in this motion.
Case 3:20-cv-12827-MAS-DEA Document 14-2 Filed 12/04/20 Page 4 of 6 PagelD: 432

Page 3 of 5

2017 U.S. Dist. LEXIS 115722, *5

DISCUSSION

Because Mr. Campbell asks this court to review and
reject [*6] the state court foreclosure judgment, the
Rooker-Feldman doctrine prevents this court from
exercising jurisdiction over his claims.

Under the Rooker-Feldman doctrine, a federal district
court is not permitted to act as a court of appeals for
state court judgments. Exxon Mobil Corp. v. Saudi Basic
Indus. Corp., 544 U.S. 280, 283, 125 S. Ct. 1517, 167 L.
Ed. 2d 454 (2005); District of Columbia Court of Appeals
v. Feldman, 460 U.S. 462, 103 S. Ct. 1303, 75 L. Ed. 2d
206 (1983); Rooker v. Fidelity Trust Co., 263 U.S. 413,
44 S. Ct. 149, 68 L. Ed. 362 (1923). This doctrine
applies when a party who has lost in state court brings a
claim in federal court complaining of injuries "caused by
state-court judgments rendered before the district court
proceedings commenced and _ inviting district court
review and rejection of those judgments.” Exxon Mobil,
544 U.S. at 284; In re Madera, 586 F.3d 228, 232 (3d
Cir. 2009) ("The Rooker-Feldman doctrine is implicated
when, in order to grant the federal plaintiff the relief
sought, the federal court must determine that the state
court judgment was erroneously entered or must take
action that would render that judgment ineffectual.").

 

 

 

Although Mr. Campbell packages his claims as
violations of the FDCPA, RICO, the Pennsylvania
Unlawful Collection Agency Practices, and civil
conspiracy, the heart of his complaint is an attempt to
obtain review of the state court foreclosure judgment.
This is evident from statements in his complaint that he
is seeking to challenge U.S. Bank's standing in that
action, Compl. { 27, as[*7] well as his damages
request for “actual damages to defend the frivolous
foreclosure action," and an injunction staying the
scheduled auction of his home. Id. pp. 29, 31. See, e.g.
Mason v. Bank of Am., N.A., No. 13-3966, 2013 U.S.
Dist. LEXIS 146544, at *15 (E.D. Pa. Oct. 9, 2013) ("A
request to stay any sheriff's sale resulting from the Court
of Common Pleas foreclosure action is evidence
persuasive to this Court that plaintiffs are seeking to
overturn the state court foreclosure judgments. The
Court concludes that its jurisdiction over such claims is
barred under Rooker-Feldman.").

 

 

Mr. Campbell argues that there is a fraud exception to
the Rooker-Feldman doctrine that applies to his claims.”

 

2He relies on a law review article by Steven N. Baker, The
Fraud Exception to the Rooker-Feldman Doctrine: How_it

Almost Wasn't (and [*8] Probably Shouldn't Be), 5 Fed. Cts. L.

Under the fraud exception, which has been embraced
by the Courts of Appeal for the Sixth and Ninth Circuits,
Rooker-Feldman does not apply when the plaintiff
asserts that the "state court judgments were procured
by . . . [the dJefendants through fraud,
misrepresentation, or other improper means," because
such claims are "independent" of the claims brought in
state court. McCormick_v. Braverman, 451 F.3d_382,
392-93 (6th Cir. 2006); see also Kougasian v. TMSL,
Inc., 359 F.3d 1136 (9th Cir. 2004).3 However, the
Second,’ Fifth,> Seventh,® Eighth,” Tenth,® and

 

 

Rev. 139 (2011). To his credit, Mr. Campbell, acting pro se,
has uncovered this helpful article. See Pl. Opp. Mot. to
Dismiss p. 15-16. However, the portion he quotes
(unfortunately without quotation marks or a citation) is actually
meant as a criticism of the fraud exception by showing that it
undermines the principle at the center of the Rooker-Feldman
doctrine. In the portion, Professor Baker discusses Goddard v.
Citibank, No. 04-CV-5317, 2006 U.S. Dist. LEXIS 19651, at
*47-18 (E.D.N.Y. Mar. 27. 2006), a case in which the court
applied the fraud exception and exercised jurisdiction over the
plaintiffs claim that a state foreclosure judgment was obtained
through fraud. Baker, supra, at 151. Baker argues the case
"demonstrates what a fraud exception to Rooker-Feldman
really means. It means a state court can decide an issue of
quintessential state interest—the validity of a mortgage and
the lender's foreclosure process, both creatures of state law—
and that a federal district court can then sit as a quasi-
appellate court for that state court, reviewing the strength of
the evidence presented to the state court and the soundness
of the state court's legal reasoning and holding." Id. This is not
meant—as Mr. Campbell has taken it—to be a sincere
summary of the state of the law; rather, it is meant to reveal
the fundamental problems with recognizing a fraud exception.

 

 

3The first case to recognize this exception was /n_re Sun
Valley Foods Co., 801 F.2d 186 (6th Cir. 1986). In that case,
the Court of Appeals for the Sixth Circuit imported the well-
recognized exception to res judicata based on fraud into the
Rooker-Feldman doctrine, without acknowledging that it was
departing from precedent. Baker, supra, at 144-51 ("Indeed,
one is left with the impression that the court simply made a
mistake.").

4 Johnson _v.Smithsonian_Inst.. 189 F.3d_180. 187 (2d Cir.
1999); Kropeinicki v. Siegel, 290 F.3d 118, 128 (2d Cir. 2002):
but see Goddard, 2006 U.S. Dist. LEXIS 19651, at *17-18.

 

5 Williams v. Liberty Mut. Ins. Co., No. 04-30768, 2005 U.S.
App. LEXIS 5660, at _*4 (5th Cir. Apr. 7. 2005); but_see
Hampton v. Sequra, No. 1:05-cv-329, 2007 U.S. Dist. LEXIS
48830, at *4 (N.D. Miss. July 5, 2007).

SAlthough the Seventh Circuit cases are somewhat
ambiguous on the fraud exception, recent cases have refused
Case 3:20-cv-12827-MAS-DEA Document 14-2 Filed 12/04/20 Page 5 of 6 PagelD: 433

Page 4 of 5

2017 U.S. Dist. LEXIS 115722, *8

Eleventh Circuits? have rejected the exception, as have
district courts from the Fourth Circuit.19

The Court of Appeals for the Third Circuit has not
definitively weighed in on this debate, though it has
discussed the exception in dicta and in nonprecedential
opinions. In Great Western Mining & Mineral Co. v. Fox
Rothschild LLP, it discussed the exception favorably,
describing the Sixth Circuit's decision in McCormick v.
Braverman. 675 F.3d 159, 167 (3d Cir. 2010). It did not,
however, apply the exception. When it has applied the
exception, it has done so in nonprecedential opinions,
and inconsistently. In Pondexter_v. Allegheny County
Housing Authority, the Court of Appeals mentioned that
the plaintiff's claim that the defendant committed fraud in
state court "by misleading the court regarding the
amount of rent he owed" was not barred by Rooker-
Feldman because it did not "allege harm caused by a
state court judgment, but instead challenge[d] the
manner in which the state court judgment was
procured." 329 F. App'x 347, 350 (3d Cir. 2009); see
also Conklin v. Anthou, 495 F. App'x 257, 262 (3d Cir.
2072) ("[Plaintiff] is not prevented [by Rooker-Feldman]
from otherwise attacking the[*9] parties to the
foreclosure proceedings or alleging that the methods
and evidence employed were the product of fraud or
conspiracy, regardless of whether his success on those
claims might call the veracity of the state-court
judgments into question."); Gray v. Martinez, 465_F.

 

to apply it. Kelley v. Med-7 Solutions, LLC, 548 F.3d 600. 605
(7th Cir. 2008); Taylor v. Fannie Mae, 374 F.3d 529, 533 (7th
Cir. 2004); but see Long v. Shorebank Dev. Corp. 182 F.3d

548, 556 (7th Cir. 1999).

7 Fielder v. Credit Acceptance Corp., 188 F.3d 1031, 1035-36
(8th Cir. 1999), overruled on other grounds by Exxon Mobil
Corp. v. Allapattah Servs. Inc., 545 U.S. 546, 560-67, 125 S.
Ct. 2611, 162 L. Ed. 2d 502 (2005).

8 Myers _v. Wells Fargo Bank, N.A.. No. 16-6316, 685 Fed.
Appx. 679, 2017 U.S. App. LEXIS 6852, at *5 (10th Cir. Apr.

20, 2017).

 

 

9 Scott _v. Frankel, No. 14-14262, 606 F. App'x 529, 532 n.4
(11th Cir. 2015): see also Grant v. Countrywide Home Loans,
Inc., No. 1:08-cv-1547-RWS, 2009 U.S. Dist. LEXIS 51031, at
*10-11 (N.D. Ga. May 20, 2009).

 

 

 

19 Nelson v. Levy Ctr., LLC, No. 9:11-1184-SB-BHH, 2016 U.S.
Dist. LEXIS 44888, at *20 (D.S.C. Mar. 29, 2016); Wise _v.
Toal, No. 6:09-00495-HFF-WMC, 2009 U.S. Dist. LEXIS
49848, at *3-4.(D.S.C. June 8, 2009); Patterson _v. AutoZone
Auto Parts, Inc. No. 0:10-2438-MBS, 2011 U.S. Dist. LEXIS
10727, at *15-17 (D.S.C. Feb. 3, 2011).

 

 

 

 

App'x 86, 89 n.4 (3d Cir. 2012) ("Were the financial
defendants to have engaged in fraud, collusion, or other
malfeasance in securing foreclosure, Rooker-Feldman
would not prevent the exercise of jurisdiction simply
because relief would cast doubt on the state-court
judgment."). But in Ayres-Fountain v. Eastern Savings
Bank, which was similarly nonprecedential, the court
refused to apply the exception. 753 F. App'x 97, 92-93
(3d_Cir. Oct. 27, 2005) (holding that plaintiffs federal
court action seeking rescission of a mortgage note and
award of damages based on fraud was barred by the
Rooker-Feldman doctrine because relief in her favor
would invalidate the default judgment entered against
her in a state foreclosure action).

 

Although the district courts in our circuit have different
opinions on the fraud exception, the balance appears to
be against the exception. See, e.g., Mason, 2073 U.S.
Dist. LEXIS 146544, at *15; Stoss v. Singer Fin. Corp..
No. 08-5968, 2010 U.S. Dist. LEXIS 16514, at *10-11
(E.D, Pa. Feb. 24, 2010): Klein v. United States, 2012
U.S. Dist. LEXIS 36572, at *37-41 (M.D. Pa. Feb. 13,
2012); Lawrence v. Emigrant Mortg. Co., No. 11-3569
(ES), 2012 U.S. Dist. LEXIS 47020, at *27 (D.N.J. Mar.
30, 2072); but_ see Jackson v. Rohm & Haas Co., No.
03-5299, 2005 U.S. Dist. LEXIS 13195, at *14 (E.D. Pa.
June_30, 2005); Mohammed v. Wells Fargo N.A., No.
3:15-cv-00403, 2016 U.S. Dist. LEXIS 3706, at _*17-18
(M.D, Pa. Jan. 17, 2016).

 

 

 

 

This court will not exercise jurisdiction over Mr.
Campbell's claims under [*10] the fraud exception to
the Rooker-Feldman doctrine. Applying it here would be
inconsistent with 28 U.S.C. § 1257, which provides
exclusive Supreme Court jurisdiction over appeals from
state courts and does not include a fraud exception for
lower courts. It would also run afoul of the principles of
federalism that form the doctrine's basis. Exxon Mobil,
544 U.S. at 284-85, Rather, "whether a state court
judgment should be subject to collateral attack or review
is an issue best left to the state courts." Fielder, 788
F.3d_at_1035-36. State rules of procedure generally
provide their own means of attacking a wrongfully
obtained judgment. See West, 273 Fed. Appx. at 674
n.3. Relevant here, Pennsylvania allows a party to
challenge a final judgment where "there has been fraud
or some other circumstance so grave or compelling as
to constitute ‘extraordinary cause' justifying intervention
by the court.” Simpson _v. Allstate_Ins. Co., 350 Pa.
Super. 239, 504 A.2d 335, 337 (Pa. Super. Ct. 1986).

 

In any event, Mr. Campbell's claims would fail even if his
complaint, liberally construed, fell within this court's
Case 3:20-cv-12827-MAS-DEA Document 14-2 Filed 12/04/20 Page 6 of 6 PagelD: 434

Page 5 of 5

2017 U.S. Dist. LEXIS 115722, *10

jurisdiction because he has not articulated sufficient
facts to state a claim upon which relief could be granted.
See Burtch v. Milberg Factors, Inc., 662 F.3d 212, 225
(3d_Cir. 2011). First, he alleges fraud, which must be
pled with particularity under Rule 9/b) of the Federal
Rules of Civil Procedure. But Mr. Campbell does not
provide any allegations from which one could conclude
that the assignment [*11] of the mortgage and note to
U.S. Bank was fraudulent; Lend America's dissolution
before the assignment does not suggest that the
assignment between MERS and U.S. Bank was invalid.
Second, his FDCPA claim is brought outside the one-
year statute of limitations, as the judgment in state court
was entered one year and eight months before he filed
this action. Compl. Ex. G. Third, his other claims—under
RICO, the Pennsylvania Unlawful Collection _Agency
Practices Act, and civil conspiracy—fail to state a claim
for numerous reasons, among them that Mr. Campbell
has not alleged any injury as a result of the allegedly
improper assignment. See, e.g.. /n re Walker, 466 B.R.
271, 285-86 (Bankr. E. D. Pa. 2012) ("If a borrower
cannot demonstrate potential injury from the
enforcement of the note and mortgage by a party acting
under a defective assignment, the borrower lacks
standing to raise the issue."); /ra_ G. Steffy & Son, Inc. v.
Citizens Bank of Pa., 2010 PA Super 175, 7 A.3d 278,
287-88 (Pa. Super. Ct. 2070) (a plaintiff does not have
standing to challenge alleged misconduct if a plaintiff is
not a party to or third-party beneficiary of the contract
that is the basis for a plaintiff's claims); Maio v. AETNA,
Inc., 221 F.3d 472, 482-83 (3d Cir. 2000) (holding that,
in order to show a RICO violation, a plaintiff must show
both that he was injured and that the defendant's
conduct caused the injury). Mr. Campbell [*12] does not
show that he suffered any injury as a result of the
allegedly fraudulent assignment. He does not challenge
the state court's finding that he was in default on his
debt; thus, presumably had U.S. Bank not
misrepresented the existence of an assignment (as
alleged), MERS could have brought the foreclosure
action and prevailed.

 

 

 

 

Because Mr. Campbell's pleadings do not include any
allegations suggesting he could conceivably establish
subject matter jurisdiction or a claim upon which relief
could be granted, the Court finds that any amendment
of his claims would be futile. See /n re Burlington Coat
Factory Sec. Litig.. 114 F.3d_1410, 1434 (3d Cir. 1997)
(finding that "futility" may "justify a denial of leave to
amend"). Accordingly, | will dismiss Mr. Campbell's
complaint with prejudice.

 

An appropriate Order follows.

ORDER

 

AND NOW, this 25th day of July, 2017, upon
consideration of the following motions to dismiss pro se
plaintiff Leroy A. Campbell's complaint:
1. Motion to dismiss by defendants Powers, Kirn &
Javardian, LLC, and Richard J. Nalbandian, Ill
(Docket. No. 3 and the amended motion, Docket
No. 7);
2. Motion to dismiss by defendant Lauren R. Tabas
(Docket No. 5); and

3. Motion to dismiss by defendants Carrie Bratcher,
Paula Lynn Laslie, and U.S. Bank [*13] National
Association (Docket No. 9);

and considering plaintiff Leroy Campbell's response in
opposition to these motions (Docket No. 11), IT IS
HEREBY ORDERED that the motions are GRANTED
and plaintiffs complaint is DISMISSED.

The Clerk of Court shall mark this case CLOSED.
BY THE COURT:
/s/ Lawrence F. Stengel

LAWRENCE F. STENGEL, J.

 

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